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                       KATHRYN TOWNSEND GRIFFIN, et al. v.
                       EDWARD CHRISTOPHER SHEERAN, et al.
                                     17 Civ. 5221 (LLS)
                                 SPECIAL VERDICT FORM

Instruction 1: Your answers to each question must be unanimous.

           1. Did Defendant Sheeran establish by a preponderance of the evidence that he
              independently created "Thinking Out Loud" and thus did not infringe the
              copyright of "Let's Get It On"?

Answer:       Yes   J        No - - - -

Instruction 2: If you answered Yes to Question 1, stop. Sign this Verdict Form and notify the
marshal that you have reached a verdict and should return to the courtroom. If you answered No ,
go to Question 2.

           2. Did Plaintiff Townsend establish by a preponderance of the evidence that the
              similarities between the songs are probative of copying and thus that "Thinking
              Out Loud" actually copies "Let's Get It On"?

Answer:       Yes- - -       No - - - -

Instruction 3: If you answered No to Question 2, stop. Sign this Verdict Form and notify the
marshal that you have reached a verdict and should return to the courtroom. If you answered
Yes to Question 2, go to Question 3.

           3. Did Plaintiff Townsend establish by a preponderance of the evidence that Melody
              A, Melody B, or Melody C are original and thus protected?

Answer:       Yes- - -       No - - - -

Instruction 4: If you answered No to Question 3, go to Questions 4a and 4b. If you answered
Yes to Question 3, skip to Questions 5a and Sb.

           4a. Did Plaintiff Townsend establish by a preponderance of the evidence that the
               unprotected elements-chord progression, harmonic rhythm, and pitch sequences
               in Melody A, Melody B, and Melody C-are sufficiently numerous to be entitled
               to copyright protection as a selection and arrangement of unprotected musical
               elements?

Answer:        Yes- - -      No - - - -

           4b . Did Plaintiff Townsend establish by a preponderance of the evidence that the
                selection and arrangement of the combination of the chord progression, harmonic
                rhythm, and pitch sequences in Melody A, Melody B , and Melody C is original
                and thus protected?
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Answer:       Yes- - -       No - - - -

Instruction 5: Regardless of your answer to Question 4, skip Question 5 and go to Instruction 6.

           5a. Did Plaintiff Townsend establish by a preponderance of the evidence that the
               chord progression and harmonic rhythm are sufficiently numerous to be entitled
               to copyright protection as a selection and arrangement of unprotected musical
               elements?

Answer:       Yes- - -       No - - - -

           5b. Did Plaintiff Townsend establish by a preponderance of the evidence that the
               selection and arrangement of the combination of the chord progression and
               harmonic rhythm is original and thus protected?

Answer:        Yes- - -      No - - - -

Instruction 6: If you have found that Melodies A, B, and Care not protected by answering No
to Question 3 but the selection and arrangement of the chord progression, harmonic rhythm, and
pitch sequences in the Melodies are protected by answering Yes to both parts of Question 4, then
skip to Question 7.
If you have found that Melodies A, B, and C are protected by answering Yes to Question 3 and
the selection and arrangement of the chord progression and harmonic rhythm is protected by
answering Yes to both parts of Question 5, go to Question 6.
If you have found that only Melodies A, B, and C are protected by answering Yes to Question 3
and No to any part of Questions 4 or 5, go to Question 6.
If you answered No to Question 3 and No to any part of Question 4 or Question 5, stop. Sign this
Verdict Form and notify the marshal that you have reached a verdict and should return to the
courtroom.

           6. Did Plaintiff Townsend establish by a preponderance of the evidence that there is
              a substantial similarity, more than minimal, between the protected elements of
              "Let's Get It On" and "Thinking Out Loud"?

Answer:        Yes- - -       No - - - -

           7. Did Plaintiff Townsend establish by a preponderance of the evidence that there is
              a substantial similarity, akin to very close copying, between the selection and
              arrangement of the unprotected elements in "Let's Get It On" and "Thinking Out
              Loud"?


Answer:        Yes _ __       No - - - -



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YOU HAVE NOW COMPLETED YOUR DELIBERATIONS. SIGN THIS VERDICT
FORM AND INFORM THE MARSHAL THAT YOU ARE READY TO RETURN TO
THE CO      OM.




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